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      9                     UNITED STATES DISTRICT COURT
     10                   CENTRAL DISTRICT OF CALIFORNIA
     11
          JOSE ANTONIO FRANCO-             )   Case No. 10-CV-02211 DMG (DTBx)
     12   GONZALEZ, et al.,                )
                                           )   DEFENDANTS’ FINAL STATUS
     13        Plaintiffs-Petitioners,     )
                                           )   REPORT
     14                    v.              )
                                           )   DATE: April 16, 2018
     15   KIRSTJEN NIELSEN, Secretary, )       TIME: 10:00am
          Department of Homeland Security, )   CTM: 8C
     16   et al.,                          )   Hon. Dolly M. Gee
                                           )
     17       Defendants- Respondents,     )
                                           )
     18   ____________________________ )
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      1                               INTRODUCTION
      2        On December 15, 2017, in its Amended Order re Monitor’s Report on Status
      3 of Primary Goals During Extension of Monitoring Term, the Court required that
      4 “[b]y March 16, 2018, Defendants shall file a final status report . . . addressing the
      5 implementation of the primary goals identified in the Court’s June 16, 2017 order
      6 [Doc. #951], including the progress of implementation of new screening tools at
      7 non-IHSC Covered Facilities . . . [and certifying] that all IHSC personnel involved
      8 in the screening process at IHSC facilities have been trained in the use of the new
      9 material.” Dkt. 973 at 4.
     10       Although Defendants maintain that no extension of the monitoring term was
     11 necessary based on Defendants’ substantial compliance with the Implementation
     12 Documents during the initial term, Defendants have diligently worked to address
     13 the goals of the order extending the monitoring term and the additional
     14 recommendations adopted by the Court throughout the course of the extended
     15 monitoring term.
     16 I.   Immigration and Customs Enforcement (“ICE”)
     17        ICE’s primary goals of the extended monitoring term include: (1) the
     18 establishment of the Implementation Plan requirements at the Cowlitz Juvenile
     19 Detention Facility, and (2) the implementation of the Monitoring Team’s
     20 recommendations regarding the facility screening process. Dkt. No. 951 at 5. As
     21 noted in Defendants’ objections to the Monitor’s Extension Status Report,
     22 Defendants submitted written certifications to the Monitor on August 30, 2017,
     23 certifying that the Implementation Plan requirements were established at the
     24 Cowlitz Juvenile Detention Facility. See Dkt. No. 965 at 3.
     25      Moreover, ICE has complied with the Court’s Monitoring Extension Order
     26 regarding the modification of screening materials by: 1) modifying existing content
     27 to eliminate many previously compound questions; 2) adding content to augment
     28 existing screening questions related to psychosis, bipolar symptoms,


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      1 schizophrenia/schizoaffective disorder, depression, anxiety, impulsivity,
      2 orientation, behavioral abnormalities, suicidality, cognitive deficit, communication
      3 barriers, intellectual disability, hallucinations, delusions, paranoia, past mental
      4 health treatment, and social history; and 3) incorporating “trigger” questions for
      5 mental health assessment (“MHA”) referral and inclusion in the Implementation
      6 Plan’s definition of serious mental disorder or condition. See Dkt. 974 at 3. The
      7 screening materials were initially finalized in October subject to the Court’s order
      8 on the Monitor’s Extension Status Report. Id.
      9        Pursuant to the Court’s December 14, 2017, Order re Monitor’s Report on
     10 Status of Primary Goals During Extension of Monitoring Term, ICE made further
     11 modifications to the screening tools consistent with the Court’s order and sent the
     12 finalized tools to Dr. Piasecki on January 16, 2018. The Court’s December 14,
     13 2017, Order also required ICE to develop training and guidance materials to
     14 accompany the screening tools and certify the implementation of the new screening
     15 materials at IHSC-staffed facilities. ICE developed training and guidance materials
     16 consistent with Dr. Piasecki’s recommendations and samples and sent the finalized
     17 materials to Dr. Piasecki on February 16, 2018. On March 1, 2018, Defendants
     18 provided notice to the Court that the new screening tools were implemented at the
     19 IHSC-staffed facilities on March 2, 2018. See Dkt. No. 973. Per the attached
     20 declaration of Luzviminda Peredo-Berger, all IHSC staff at the IHSC facilities has
     21 been trained in the use of the screening materials. See Exhibit 1, Declaration of
     22 Luzviminda Peredo-Berger at ¶ 6.
     23        Finally, ICE has taken steps to implement the new screening tools at non-
     24 IHSC Covered Facilities. Per the attached declaration of Tae Johnson, by entering
     25 into a contract with DHS, detention facilities are expected to meet DHS ICE
     26 detention standards. See Exhibit 2, Declaration of Tae Johnson at ¶ 3. While ICE
     27 detention standards do not mandate the use of specific forms or specific intake and
     28 assessment questions, sample IHSC forms are provided to guide the facilities. Id.


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      1 As of March 16, 2018, ICE notified all non-IHSC facilities within the states of
      2 California, Arizona, and Washington of the recent updates to IHSC’s screening
      3 materials and encouraged the facilities to either adopt the updated materials or
      4 make revisions to their existing materials to incorporate the changes. Id. at ¶ 4. ICE
      5 expects to receive notification from the non-IHSC Covered Facilities by April 1,
      6 2018. Id.
      7 II.     Executive Office for Immigration Review (“EOIR”)
      8
                EOIR’s primary goals of the extended monitoring term relate to certain
      9
          additional suggested updates to the multi-hour Franco IJ training program. See Dkt.
     10
          No. 951 at 3, 5. EOIR agreed to incorporate a Forensic Competence Evaluation
     11
          (“FCE”) report into its training materials as suggested by the Monitor. See Dkt.
     12
          961 at 10, 13. As Defendants have already reported, since that time, EOIR has
     13
          selected an FCE report and has utilized it as a training material in a recent, multi-
     14
          hour Franco IJ training. See Dkt No. 974 at 2. This FCE report will now be a part
     15
          of the regularly utilized training materials for the multi-hour Franco IJ training, and
     16
          was provided to Dr. Piasecki for her review. Id.
     17
                The remaining suggestions that the Monitor provided in the Extension Status
     18
          Report are that EOIR: (1) incorporate increased instruction on neurocognitive
     19
          limitations included in Part (1) of the Class definition throughout the training, (2)
     20
          provide additional specialized training materials to more specifically address this
     21
          Court’s Orders, and (3) facilitate a further observation by the Monitor and her
     22
          expert Dr. Piasecki of EOIR’s Immigration Judge (“IJ”) training. See Dkt. No. 951
     23
          at 3, citing Dkt. No. 940-5.
     24
                On October 13, 2017, after observing EOIR’s revised IJ training, the
     25
          Monitor filed her final Status Report on Primary Goals During Extension of
     26
          Monitoring Term. See Dkt. No. 961. In this report, the Monitor commended EOIR
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          for the enhancements it made to its IJ training program in compliance with the
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          Court’s June 16, 2017, Order, and had a few additional recommendations for

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      1 further enhancing the IJ training program and materials. Id. at 20. In her report, the
      2 Monitor indicated that her expert Dr. Piasecki was willing to work with EOIR to
      3 adapt or develop the recommended training materials if desired.1
      4         On December 15, 2017, the Court issued an Amended Order re Monitor’s
      5 Report on Status of Preliminary Goals During Extension of Monitoring Term
      6 [961], directing EOIR to “refine its new training materials to more accurately
      7 encompass and target Franco Class criteria consistent with the Monitor’s
      8 recommendations found in Part II.B.2 of the Fifth Monitoring Report and, by
      9 February 16, 2018, provide them to Dr. Piasecki for her review and comment.”
     10 Dkt. No. 973 at 2-3. EOIR has since been working directly with Dr. Piasecki to
     11 refine its new training materials. EOIR has provided its final edits to those
     12 documents for Dr. Piasecki’s consideration, and are in the process of finalizing the
     13 refined training materials with her. These materials, along with the addition of a
     14 sample Forensic Competency Evaluation involving a neurocognitive limitation for
     15 discussion during the IJ training program, are also intended to address the Court’s
     16 Order that “EOIR shall increase instruction, throughout IJ training, on
     17 neurocognitive limitations included in Part (1) of the Class definition.” Dkt. No.
     18 973 at 3. Therefore, EOIR has complied with all of its respective requirements in
     19 the Court’s December 15, 2017 Order.
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     22   1
            The Monitor also recommended that all IJs receive the full Franco training during
     23   their onboarding training, despite the multi-hour training provided to all IJs to
     24   make class member identification. See Dkt. No. 961 at 20. Defendant’s objected to
          these additional requirements, and on December 15, 2017, the Court issued an
     25   Amended Order re Monitor’s Report on Status of Preliminary Goals During
     26   Extension of Monitoring Term [961] clarifying Defendants need only provide new
     27   IJs with on-board training regarding Franco, and to refer those cases for a
          competency determination to other IJs who have received the full multi-hour
     28   Franco training.


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      1        On January 12, 2018, Plaintiffs moved to reconsider the Court’s December
      2 15, 2018, and asked to the Court to reconsider its rejection of the Monitor’s
      3 recommendation that a reference to Franco be added to the Immigration Judge
      4 Benchbook. See Dkt. No. 973. On January 19, 2018, the parties stipulated to hold
      5 Plaintiff’s motion for reconsideration in abeyance pending confirmation of the
      6 terms of the joint stipulation. See Dkt. No. 976. Defendants expect to have a
      7 further update regarding the status of the transfer of the benchbook with archival
      8 disclaimer to EOIR’s FOIA reading room online on or before the April 16, 2018,
      9 status conference.
     10
          Dated: March 16, 2018                    Respectfully submitted,
     11
     12                                            /s/ Jeffrey S. Robins
                                                   JEFFREY S. ROBINS
     13
                                                   Assistant Director
     14                                            United States Department of Justice
     15                                            Office of Immigration Litigation
                                                   District Court Section
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     17                                            Attorney for Defendants-Respondents
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